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                     EXHIBIT “A”
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1                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
2
       --------------------------------------------------------x
3      JOE HAND PROMOTIONS, INC.,
                                           Plaintiff,
4                                                                Case No: EDCV11-00531-WDK
                                 - against -
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6
       DION LEVERING WILLIAMS, Individually,
7      and as an officer, director, shareholder, and/or
       principal of HOTLANTA WINGS & THINGS
8
       WEST, INC. d/b/a HOTLANTA WINGS
9      3950 Pierce Street
       Riverside, CA 92505,
10
       and
11

12     HOTLANTA WINGS & THINGS WEST, INC.
       d/b/a HOTLANTA WINGS
13     3950 Pierce Street
       Riverside, CA 92505,
14
                                            Defendants.
15     -------------------------------------------------------------x

16         PLAINTIFF’S AFFIDAVIT IN SUPPORT OF PLAINTIFF’S APPLICATION FOR
                           DEFAULT JUDGMENT BY THE COURT
17

18
       STATE OF PENNSYLVANIA                                            )
19
                                                                        ) ss:
20

21     COUNTY OF BUCKS                                                  )

22              I, JOE HAND, JR., being duly sworn, depose and state the following:
23
                1.       I am the President of Plaintiff, JOE HAND PROMOTIONS, INC., and as such I
24
       am fully familiar with the facts, circumstances, and proceedings heretofore had herein.
25
                2.       I make this affidavit in support of Plaintiff‟s request to recover statutory damages,
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27     including attorneys‟ fees, investigative costs, and interest in the within request for judgment by

28     default.
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1             3.      Our company, JOE HAND PROMOTIONS, INC., is a closed circuit distributor
2
       of sports and entertainment programming. Our company purchased and retains the commercial
3
       exhibition rights to the “UFC 114: Rampage v. Evans” Broadcast, including all undercard bouts
4
       and the entire television broadcast, scheduled for May 29, 2010, (hereinafter referred to as the
5

6      “Broadcast”). Our company thereafter marketed the sub-licensing (commercial exhibition)

7      rights in the Program to our company‟s commercial customers (i.e., casinos, racetracks, bars,
8
       restaurants, and nightclubs). A true and correct copy of the Agreement is attached to Plaintiff‟s
9
       Motion for Default as Exhibit “A-1”.
10
              4.      Simultaneously with the advent of pay-per-view programming, we began to
11

12     experience serious erosion in the sales of our own proprietary programming to our commercial

13     customers throughout the United States of America. To protect ourselves, we endeavored to find
14
       out what was the basis for the erosion and determined from our customers that the cause of the
15
       erosion of our customer base was the rampant piracy of our broadcasts by unauthorized and
16
       unlicensed establishments (signal pirates).
17

18            5.      In response, we embarked upon a nationwide program to police our signals for the

19     purpose of identifying and prosecuting commercial establishments which pirate our
20
       programming (including the Rampage and Evans event, the subject programs involved in this
21
       lawsuit).
22
              6.      Specifically, JOE HAND PROMOTIONS, INC. retained, at considerable
23

24     expense, auditors and law enforcement personnel to detect and identify signal pirates. To ensure

25     that only illegal locations were visited by the auditors, our company compiled our confidential
26
       list of customers (authorized and legal locations) who paid the required license fee to broadcast
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1      the Program, and this list was distributed to participating auditing and law enforcement agencies
2
       in strict confidence.
3
              7.      The above-referenced Program contained several televised under-card bouts and
4
       color commentary, along with the main event prizefight between Rampage and Evans. As set
5

6      forth within the sworn Affidavit of Martin Dante, it was the undercard fights between Bisping

7      and Miller, which Mr. Dante observed as being unlawfully exhibited by the establishment doing
8
       business as “Hotlanta Wings” on Saturday, May 29, 2010 (as at no time did this establishment
9
       ever lawfully license the Program from our company for such a purpose). A true and correct
10
       copy of the Affidavit of Martin Dante is attached Hereto as exhibit “A-2.”
11

12            8.      Domestic commercial establishments, which contract with us, were required to

13     pay my company a commercial sublicense fee to broadcast the Program. This sublicense fee for
14
       the Program was based on the capacity of the establishment and varies for each event. For
15
       example, for this particular event, if a commercial establishment had a maximum fire code
16
       occupancy of 50 persons, the commercial sublicense fee would have been $900.00 A true and
17

18     correct copy of the Rate Card is attached hereto as Exhibit “A-3.”

19            9.      It is essential that I communicate to the Court that to the best of my knowledge
20
       our programming is not and cannot be mistakenly, innocently, or accidentally intercepted. Some
21
       methods that a signal pirate can unlawfully intercept and broadcast our programming are as
22
       follows without limitation:
23

24                    A.        The use of a “blackbox,” “hotbox,” or “pancake box” which is purchased

25     for a fee and when installed on a cable TV line will allow for the descrambled reception of a pay-
26
       per-view broadcast, or
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1                     B.      The use of a “smartcard” or “test card” or “programming card” which is
2
       purchased for a fee and when installed on a DSS satellite receiver line will allow for the
3
       descrambled reception of a pay-per-view broadcast, or
4
                      C.      The purposeful misrepresentation of a commercial establishment as a
5

6      residential property to allow the fraudulent purchase of a pay-per-view (or prohibited)

7      programming at the residential rate, or
8
                      D.      The use of illegal cable drop or splice from an apartment or home adjacent
9
       to the commercial establishment premises (which would purchase the broadcast at a residential
10
       price and divert the program to the commercial establishment), and/or
11

12                    E.      The purchase of other illegal unencryption devices, and the purchase of

13     illegal satellite authorization codes which are readily available on the internet, in trade
14
       publications, and through “word of mouth.”
15
              10.     Turning these facts to the matter before the Court I have been advised by counsel
16
       that the Court has wide discretion in the awarding of statutory damages for nefarious, illegal and
17

18     debilitating activities of signal pirates which are injurious to our company and our lawful

19     customers.
20
              11.     It is respectfully submitted to this Honorable Court that the unchecked activity of
21
       signal piracy not only has resulted in our company‟s loss of several millions of dollars of
22
       revenue, but also has a detrimental effect upon lawful residential and commercial customers of
23

24     cable and satellite broadcasting whose costs of service are increased significantly by these illegal

25     activities, including the depravation of tax revenue to the communities where our potential
26
       customers reside, and the denial of benefits such tax revenue would provide the residents of such
27
       communities.
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1             12.     We, at JOE HAND PROMOTIONS, INC., believe that the persistent signal
2
       piracy of our programming costs our company, our customers, and their communities millions of
3
       dollars annually resulting in part, from the perceived lack of consequences (including nominal or
4
       minimal damage awards by the Courts who hear our cases).
5

6             13.     For these reasons I ask this Honorable Court to grant a substantial allowance for

7      statutory damages due to the fact that such actions are per se intentional and do not and cannot
8
       occur without the willful and intentional modification of electronic equipment, the willful and
9
       fraudulent misrepresentation of a commercial establishment as a residential one, the removal of
10
       cable traps or devices designed to prevent such unauthorized exhibits, or other willful and/or
11

12     international acts purposely designed to obtain our programming unlawfully.

13            14.     I am also troubled by the fact that the Courts have placed undue weight upon
14
       whether the promotion of programming by the signal pirates (rather than the exhibition of the
15
       programming itself) was done willfully and/or for commercial benefit. I would ask the Court to
16
       recognize that the willful and purposeful acts necessary to intercept and exhibit the programming
17

18     precede whatever steps are, or are not taken, by the pirate establishment to promote our

19     programming to their customers.
20
              15.     I would also ask the Court to recognize that the pirates do not generally advertise
21
       the fact that they intend to exhibit our programming unlawfully to the public for the practical
22
       reason that they wish to avoid the unessential risk of detection. This of course does not preclude
23

24     the very real possibility fact that the unlawful exhibition may well have been promoted by word

25     of mouth or advertising that went undetected by the auditors, to their own customers to increase
26
       their financial gain on the night our programs are broadcast at their establishment.
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1              16.     In addition, it is extremely unlikely that a pirate establishment would increase the
2
       costs of food or drink on the evening they are broadcasting one of our programs unlawfully. In
3
       my personal experience gained through many years in the promotion industry, it is most
4
       uncommon that even our legal locations would employ such a method to recover some of our
5

6      commercial license fee back from their own customers. I would point out however that since our

7      auditors do not benchmark the prices charged for food or drink at the pirate locations subsequent
8
       to conducting the field surveillance on the evening our programming is broadcast, it is
9
       undetermined whether the prices paid by an auditor at a pirate location on fight night are in fact
10
       less than or equal to the normal prices charged by the pirate establishments.
11

12             17.     I also believe it particularly important that the Court understand that the

13     overwhelming majority of pirate establishments do not, and likely will not, ever charge a cover
14
       or door charge to their customers on the evening our programming is exhibited. To do so would
15
       defeat the very purpose of pirating on programming in the first place: to lure or retain patrons
16
       who seek to be entertained by our programming. If the pirate demanded a cover charge of its
17

18     patrons then the competitive advantage he or she held over our lawful customers (who regularly

19     impose a cover charge) would dissipate and the pirate‟s patrons would be faced with a choice of
20
       viewing our programming at the pirate establishment or at our lawful customer‟s locations where
21
       the broadcast environment may be much more attractive (i.e., more monitors, bigger monitors,
22
       no risk of interference or interception, etc.).
23

24             18.     Clearly, this establishment with multiple television monitors, and a physical

25     established location, had no justification to steal our programming and exhibit it for its own
26
       financial benefit, except to deny our company the commercial license fee to which was rightfully
27
       entitled.
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                   EXHIBIT “A-1”
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